                         Case 3:18-cv-02353-MMC Document 25 Filed 05/14/18 Page 1 of 2



            1      COOLEY LLP
                   JOHN W. CRITTENDEN (101634) (jcrittenden@cooley.com)
            2      CHANTAL Z. HWANG (275236) (chwang@cooley.com)
                   MICHAEL C. BLEICHER (313892) (mbleicher@cooley.com)
            3      101 California Street, 5th Floor
                   San Francisco, CA 94111-5800
            4      Telephone: (415) 693-2000
                   Facsimile: (415) 693-2222
            5
                   Attorneys for Defendant
            6      CONTEXTLOGIC INC. d/b/a WISH

            7

            8                                       UNITED STATES DISTRICT COURT
            9                                      NORTHERN DISTRICT OF CALIFORNIA
          10

          11       DEALDASH OYJ and DEALDASH INC.,                      Case No. 3:18-cv-02353-MMC

          12                          Plaintiff,                        NOTICE OF APPEARANCE OF
                                                                        CHANTAL Z. HWANG
          13                v.

          14       CONTEXTLOGIC INC. d/b/a WISH,

          15                          Defendant.

          16

          17

          18                Defendant ContextLogic Inc. d/b/a Wish files this Notice of Appearance and hereby notifies
          19       the Court and all parties that Chantal Z. Hwang of the law firm of Cooley LLP, 101 California Street,
          20       5th Floor, San Francisco, CA 94111-5800, hereby enters his appearance as counsel of record for
          21       ContextLogic Inc. d/b/a Wish in the above-referenced matter.
          22                All pleadings, discovery, correspondence, and other material should be served upon counsel
          23       at:
          24                       Chantal Z. Hwang
                                   Cooley LLP
          25                       101 California Street, 5th Floor
                                   San Francisco, CA 94111
          26                       Email:         chwang@cooley.com
                                   Telephone:     (415) 693-2000
          27                       Facsimile:     (415) 693-2222
          28       ///
  COOLEY LLP                                                                                 NOTICE OF APPEARANCE OF
ATTORNEYS AT LAW
 SAN FRANCISCO
                   176857234 v1                                    1.                               CHANTAL Z. HWANG
                                                                                          CASE NO. 3:18-CV-02353-MMC
                         Case 3:18-cv-02353-MMC Document 25 Filed 05/14/18 Page 2 of 2



            1      Dated:         May 14, 2018          COOLEY LLP
                                                        JOHN W. CRITTENDEN (101634)
            2                                           CHANTAL Z. HWANG (275236)
                                                        MICHAEL C. BLEICHER (313892)
            3

            4
                                                        /s/ Chantal Z. Hwang
            5                                           Chantal Z. Hwang (275236)
                                                        Attorneys for Defendant
            6                                           CONTEXTLOGIC INC. d/b/a WISH
            7

            8

            9

          10

          11

          12

          13

          14

          15

          16

          17

          18

          19

          20

          21

          22

          23

          24

          25

          26

          27

          28
  COOLEY LLP                                                                   NOTICE OF APPEARANCE OF
ATTORNEYS AT LAW
 SAN FRANCISCO
                   176857234 v1                          2.                           CHANTAL Z. HWANG
                                                                            CASE NO. 3:18-CV-02353-MMC
